JS 44. (Rev. 1/2013) CIVIL COVER

The JS 44 civil cover sheet and the information contained herein neither replace nor suppleme
provided by local rules of court. This form, approved by the Judicial Conference of the United
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM,

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eptember 1974, ts réqtiired for thet

L (a) PLAINTIFFS DEFENDANTS
Ayton We Coy Daveawl Busters, Duc.
(b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY}

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attomeys (if Known) B } AN Cc O ; J .

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Il. BASIS OF JURISDICTION (Piace an “X* in One Box Only} DI. CITIZENSHIP OF PRINCIPAL PARTIES (Ptace an “X" in One'Box for Plaintiff
(For Diversity Cases Qniy) and One Box for Defendant)
Os US. Government 3 Federal Question PTF DEF PIF DEF
Plaintiff (US. Government Noto Party) Citizen of This State ol G 1 {ncorperated or Principal Place G4 4
of Business In This State
O2 US. Government 4 Diversity Citizen of Another State G2 © 2 Incorporated and Principat Place as O85
Defendant (indicate Citizenship of Parties in Htem [H) of Business In Another State
Citizen or Subject of a O03 O 3 Foreign Nation oO6 06

Foreign Country

BANRRUPTO

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110 Insurance PERSONAL INJURY PERSONAL INJURY {0 625 Drug Related Seizure (J 422 Appeal 28 USC 158

oO O 375 False Claims Act
CO 120 Marine 310 Airplane OG 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal (F 400 State Reapportionment
OD 130 Miller Act CG 315 Airplane Product Product Liability 0 690 Other 28 USC IST & 410 Antitrust
OF 140 Negotiable Instrument Liability OC) 367 Health Care/ & 430 Banks and Banking
7 150 Recovery of Overpayment | 7} 320 Assault, Libel & Pharmaceutical I TY: GO 450 Commerce
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights © 460 Deportation
O 151] Medicare Act G 330 Federal Employers’ Product Liability OD 2830 Patent O 470 Racketeer Influenced and
O 152 Recovery of Defaulted Liability ( 368 Asbestos Personal O 840 Trademark Corrupt Organizations
Student Loans 0 340 Marine Injury Product G 480 Consumer Credit
{Excludes Veterans} © 345 Marine Product Liability ES LABOR : SSOCLL SECURT] “} OC 490 Cable/Sar TV
( 153 Recovery of Overpayment Liability PERSONAL PROPERTY [0 710 Fair Labor Standards O 861 HIA (1395ff) OF 850 Securities‘Commodities’
of Veteran's Benefits © 356 Motor Vehicle J 370 Other Fraud Act OG 862 Black Lung (923) Exchange
0 160 Stockholders’ Suits 0 355 Motor Vehicle O 371 Truth in Lending O 720 Labor/Management 0 863 DIWC/DIWW (405(23) [1 890 Other Statutory Actions
0 190 Other Contract Product Liability {7 380 Other Personal Relations O 864 SSID Title XVI G 891 Agricultural Acts
J 195 Contract Produce Liability | 340 Gther Personal Property Damage O 740 Railway Labor Act G 865 RSI (405(2}) O 893 Environmental Matters
O 196 Franchise Injury O 385 Property Damage O 751 Family and Medical O 895 Freedom of Information
G 362 Personal Injury - Product Liability Leave Act Act
i i O 7990 Other Labor Litigation O 896 Arbitration
bese OPER E EAC 791 Employee Retirement ALS EA O 899 Administrative Procedure
0 210 Land Condemnation Habeas Corpus: Income Security Act F 870 Taxes (U.S. Plainuff Act/Review or Appeal of
O $220 Foreclosure O 463 Alien Detainee or Defendant) Agency Decision
O 230 Rent Lease & Ejectment O $10 Motions to Vacate 0 87) IRS—Third Party © $50 Constitutionality of
(7 240 Torts to Land Sentence 26 USC 7609 F | LIE D)State States
& 245 Tort Product Liability Accommodations 530 General IN CLERK'S OFFICE
& 290 All Other Real Property OG 445 Amer, w/Disabilities -| 0 $35 Death Penalty AMMIGHRA TION: 0205 U.S. DISTRICT COURT E.D.N.Y
0 446 Employment 5 Other: (1 462 Naturalization Application —_ ss
Amer. w/Disabilities - 540 Mandamus & Other [0 465 Other Immigration
Other C7 550 Civil Rights Actions * JAN 22 2015 *
G 448 Education G 555 Prison Condition
O 560 Civil Detainee -
Conditions of
Confinement LONG ISLAND OFFICE
V,, ORIGIN (Place an "X" in One Box Only)
e Original G2 Removed from O 3 Remanded from 4 Reinstated or O 4 Transferred from OF 6 Multtidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation
{specify}

Cite the U.S, Civil Statute under meeps Ne aor cite jurisdictional statutes untess diversity):

VI. CAUSE OF ACTION Brief description of cause: ‘s 4 Lot ue Disa ator

VIL. REQUESTEDIN © CHECKIFTHISISACLASS ACTION © DEMANDS CHECK YES only if ore in complaint:
COMPLAINT: UNDER RULE 23, F.RCv.P. JURY DEMAND: Yes (C1No
VIII. RELATED CASE(S) ~N
IF ANY (Bee instructions! sD GE MATER DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD

FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

actions seeking tioney Ganiazes Orly in aD apnpunDnot jinexpess ofS 150,000,

Local Afbithation Rae 84-19 pro Vides that witcertain blceptions
0 : amages is presumed to be below the threshold amount unless a

exclusive of interest and costs, are eligible for compulsory arbitration. The amount of d
certification to the contrary is filed.

N | wr , counsel for , do hereby certify that the above captioned civil action is

i eligible for compulsory arbitration for the following reason(s):
C) monetary damages sought are in excess of $150,000, exclusive of interest and costs,
oO the complaint seeks injunctive relief,
O) . the matter is otherwise ineligible for the following reason
eo o A DISCLOSURE STATEMENT - FEDERAL RULES CIVIL, PROCEDURE 7.1 y)
A

Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:

RELATED CASE STATEMENT (Section VIII on the Front of this Form)

Please list all cases that are arguably related pursuant to Division of Business Rule 50.3.1 in Section VIII on the front of this form. Rule 50.3.1 (a)

provides that “A. civil case is “related” to another civil case for purposes of this guideline when, because of the similarity of facts and legal issues or

because the cases arise from the same transactions or events, a substantial saving of judicial resources is likely to result from assigning both cases to the

same judge and magistrate judge.” Rule 50.3.1 (b) provides that “ A civil case shall not be deemed “related” to another civil case merely because the civil

case: (A) involves identical legal issues, or (B) involves the same parties.” Rule 50.3.1 (c) further provides that “Presumptively, and subject to the power
_ of a judge to determine otherwise pursuant to paragraph (d), civil cases shall not be deemed to be “related” uniess both cases are still pending before the

court.”

NY-E DIVISION OF BUSINESS RULE $0.1(d)(2)

1.} Is the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
County: . .

2.) If you answered “no” above:
a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau or Suffolk
County? uy

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b} Did the events of omissions giving rise to the claim or claims, or a substantial part thereof, occur in the Eastern
District? UY

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If your answer to question 2 (b) is “No,” does the defendant (or a majority of the defendants, if there is more than one) reside in Nassau or
Suffolk County, or, in an interpleader action, does the claimant (or a majority of the claimants, if there is more than one) reside in Nassau
or Suffolk County? :

(Note: A corporation shall be considered a resident of the County in which it has the most significant contacts).

BAR ADMISSION

1am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.

Yes Al A [] No

Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?
Yes _— (If yes, please explain) [] No

I certify the accuracy of all information provided above.

Signature: asl A

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